     Case 8:16-cr-00113-JLS Document 681 Filed 02/26/20 Page 1 of 1 Page ID #:5339



 1
 2
 3
 4
 5
                         UNITED STATES DISTRICT COURT
 6                      CENTRAL DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF                             Case No. 8:16-cr-00113-JLS-10
     AMERICA,
 9                                                Order Granting Defendant Javed
                  Plaintiff,                      Asefi’s Motion for Extension of Self-
10   v.                                           Surrender Date
11
     JAVED ASEFI,
12
                  Defendant.
13
     ____________________________________
14
15         The Court having read Defendant’s Motion for Extension of Self-Surrender
16   Date, hereby orders as follows:
17   THE COURT ORDERS:
18   The date for defendant to surrender to the facility designated by the Bureau of
19   Prisons for the service of his sentence is extended until March 30, 2020, 12:00 p.m.
20   No further extensions will be granted.
21   IT IS SO ORDERED.
22
23
24   Dated: February 26, 2020                     ______________________________
                                                         HON. JOSEPHINE L. STATON
25                                                       United States District Judge
26   CC: PSA-SA; USPO; USM; BOP
27
28
